Case 1:15-cr-00124-TSE         Document 65-13         Filed 09/20/15      Page 1 of 2 PageID# 490




                       Muneeb and Sohaib Akhter Character Reference Letter
 August 28, 2015
 Dear Honorable Judge,
         I, Kausar Hamid, 44 years of age, a legal resident of Lexington, KY, am the paternal aunt
 of Muneeb and Sohaib Akhter. I am writing to you in reference to the case involving the
 sentencing of Muneeb and Sohaib Akhter. I have known Muneeb and Sohaib since they were
 born. I believe that I am in a good position and moral standing to speak about Muneeb and
 Sohaib’s moral character, so I hope you will take this letter into consideration when making your
 decision.
          Muneeb and Sohaib are good people who have always been kind and generous with
 others. They both had led exemplary lives and have been highly committed to their education.
 They strived throughout their college studies, living in their grandmother’s home to reduce the
 burden of debt. They took more than the number of credit hours recommended and completed
 their studies in record time. Not only did they do this in such a short time, but they completed
 their undergraduate studies with outstanding GPAs. This was featured in an article in The
 Washington Times. Whenever I have visited them at their grandmother’s, I have noticed that
 they are always helping out with chores at her house. When Washington, D.C. had a large
 snowstorm and experienced over a foot of snow, they were the first ones outside shoveling the
 pathway to the house and salting the driveway.
         My four children, aged 7-16, are always inspired by Muneeb and Sohaib’s hard work and
 sacrifices. Even at their young age, my children look up to Muneeb and Sohaib, who show
 patience and care towards them. I have never witnessed either of the boys so much as to raise
 their voice when dealing with my kids. I have always seen them put others’ needs before their
 own. For example, whenever we have visited them, they allowed my kids to sleep in their rooms
 and beds, and they themselves slept on the carpet in the basement. My little ones woke up early,
 and even when Muneeb and Sohaib could have continued sleeping, they woke up and played and
 interacted with them. On the other hand, when they visited us, which was usually an eight hour
 drive from Washington D.C. to Kentucky, or a thirteen hour drive from Dallas, TX to Kentucky,
 they refused the comfort of the children’s’ beds and opted instead to sleep on the carpet in my
 living room. They are kind, considerate, and good at heart. On one occasion, they had a good
 piece of chocolate, the last of which they gave to my children rather than eat it themselves.
 When visiting, they always help with chores around the house, such as babysitting, helping with
 the vacuuming, or setting the table.
        The entire family is deeply saddened by the wrong turns taken by Muneeb and Sohaib. I
 believe that there is a lot of goodness in their hearts and that they are very sincere people. It is
 under this firm belief that I am requesting for you to be lenient with their sentencing. Please give
 them a chance to show that they are truly sorry for their actions. With their education and
Case 1:15-cr-00124-TSE        Document 65-13       Filed 09/20/15    Page 2 of 2 PageID# 491




 skillset, they can give back to the community and mentor the youth of tomorrow throughout
 society.
        I would like to end by once again requesting that you show consideration to Muneeb and
 Sohaib Akhter and give them a second chance to prove themselves. Thank you for your time and
 understanding.
        Sincerely,
        Kausar Hamid, M.Sc.
